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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              EVANSVILLE DIVISION


      UNITED STATES OF AMERICA,                    )
                                                   )
                                 Plaintiff,        )
                                                   )
                        vs.                        )      3:13-cr-00017-RLY-WGH-01
                                                   )
      WILLIAM H. ELDER ,                           )
                                                   )
                                 Defendant.        )


      ENTRY ON DEFENDANT’S MOTION TO DISMISS INFORMATION FILED
                    PURSUANT TO 21 U.S.C. § 851(A)(1)

         On April 1, 2015, a jury found Defendant, William Elder, guilty of conspiracy to

 distribute methamphetamine. (Filing No. 390, Verdict Form 1). While the specifics here

 have little relevance, the general nature of the conspiracy entailed the transportation of

 methamphetamine from Arizona to Indiana and involved William Elder’s son, Matthew

 Elder. On March 19, the Government filed Information pursuant to 21 U.S.C. § 851.

 (Filing No. 357, Information Filed Pursuant to 21 U.S.C. § 851(A)(1) 1–2). Defendant

 now seeks to dismiss this information on multiple grounds.

 I.      Background

         According to the Defendant, the United States offered Defendant a plea

 agreement, which Defendant subsequently accepted and signed. (Filing No. 428, Mot.

 Dismiss Information Filed Pursuant U.S.C. § 851(A)(1) 2 (hereinafter “Mot. Dismiss

 Info.”). The Government subsequently arrested Defendant’s co-conspirator and son,


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 Matthew Elder, who, according to the Government, refused to cooperate. As a result,

 Defendant alleges, the Government refused to sign and accept Defendant’s plea

 agreement. (Id.).

        Defendant moves to dismiss the Section 851 Information on the following three

 theories. First, failure to accept the plea agreement constitutes a violation of due process

 and prosecutorial vindictiveness. Second, imposition of a life sentence without parole, in

 this case, constitutes cruel and unusual punishment in violation of the Eighth

 Amendment. Third, the structure of filing enhancements violates the separation of

 powers because it effectively takes the power to determine the sentence from the judge

 and gives it to the prosecutor. (Id.).

 II.    Discussion

        A.     Due Process Argument

        Prosecutorial vindictiveness for reliance on a legal right is a “due process violation

 of the most basic sort.” Bordenkircher v. Hayes, 434 U.S. 357, 363 (1978). The court

 must balance due process concerns against the wide discretion given prosecutors. United

 States v. Jarrett, 447 F.3d 520, 525 (7th Cir. 2006). Provided probable cause, the

 prosecutor generally retains sole discretion of whether and what to file. Id. (quoting

 United States v. Armstrong, 517 U.S. 456, 463 (1996)). The Defendant has “a demanding

 burden of proof” because the Government is presumed to have acted constitutionally in

 “prosecutorial decision making” absent “‘clear evidence to the contrary.’” Id. (quoting

 Armstrong, 517 U.S. at 463). To be successful, a defendant “must present objective



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 evidence showing genuine vindictiveness.” United States v. O’Hara, 301 F.3d 563, 571

 (7th Cir. 2003) (citing United States v. Spears, 159 F.3d 1081, 1086 (7th Cir. 1998)).

          It is well established that a prosecutor who charges a defendant more severely for

 pleading not guilty as opposed to accepting a plea arrangement with a lesser charge is not

 acting vindictively. See Bordenkircher, 434 U.S. at 363 (“[I]n the “give-and-take” of

 plea bargaining, there is no such element of punishment or retaliation so long as the

 accused is free to accept or reject the prosecution’s offer.”). Here, Defendant claims the

 vindictiveness was in response to his codefendant’s assertion of a legal right—that is, the

 forgoing of a plea agreement and pursuit of trial. Because, however, his codefendant’s

 rejection of the plea agreement would not ordinarily be sufficient for a claim of

 vindictiveness, it is similarly insufficient to bring a claim of vindictiveness by proxy.

         The court notes that Defendant’s claim is slightly more nuanced. Because

 Matthew Elder was not a co-defendant at the time Defendant signed the plea agreement,

 it is reasonable to assume Defendant did not believe Matthew Elder’s cooperation and

 behavior would influence Defendant’s agreement. However, the plea agreement

 contained a clause indicating it was not effective until the Government signed the

 agreement. (Filing No. 354, Entry Def.’s Am. Mot. Compel 2). Moreover, this court

 found the agreement unenforceable because the Government never signed it. (Id. at 3).

 In any event, the Government simply deciding not to sign a plea agreement that it was

 clearly not bound to sign is not “clear evidence” of vindictiveness. 1 Thus, the court finds


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  Defendant also argues prosecutors should not have filed the Information pursuant to a policy set out in
 2013 by the Attorney General. However, this policy is not binding on the court. See United States v.

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 that the Government did not act out of vindictiveness, but rather acted in accordance with

 its discretion in plea bargaining.

         B.      Cruel and Unusual Argument

         The United States Supreme Court and the Seventh Circuit have consistently

 upheld the imposition of life sentences. See Harmelin v. Michigan, 501 U.S. 957, 994 –

 96 (1991) (allowing statutory life imprisonment without possibility of parole for a single

 drug crime); see also Ewing v. California, 538 U.S. 11, 25 (2003) (holding a mandatory

 twenty-five year sentence for felony theft under a “three strikes law” was not grossly

 disproportionate such that it violated the Eighth Amendment); see also United States v.

 Ousley, 698 F.3d 972, 976 (7th Cir. 2012) (finding Harmelin to unequivocally foreclose

 Eighth Amendment challenges to mandatory life sentences). The court is bound to

 follow this precedent and thus must find the imposition of a mandatory life sentence, in

 this case, does not violate the Eighth Amendment’s prohibition against cruel and unusual

 punishment.

         C.      Separation of Powers Argument

         The Seventh Circuit has specifically rejected separation of powers arguments

 regarding mandatory imposition of life sentences. See United States v. Washington, 109

 F.3d 335, 338 (7th Cir. 1997) (finding mandatory life imprisonment for three serious

 violent felonies did not violate separation of powers). The court must follow this

 precedent and therefore, rejects this argument.



 Reed, 576 F. Appx 60, 62 (2nd Cir. 2014) (finding the Attorney General’s policy was an exercise of
 discretion and not binding on the courts).

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 III.   Conclusion

        For the foregoing reasons, Defendant’s Motion to Dismiss Information filed

 Pursuant to 21 U.S.C. § 851 (Filing No. 428) is DENIED.


 SO ORDERED this 21st day of July 2015.




                                          RICHARD L. YOUNG, CHIEF JUDGE
                                          United States District Court
                                          Southern District of Indiana



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